 

Case 5:21-cv-01896-EEF-MLH Document 8 Filed 08/23/21 Page 1 of 8 PagelD # 33

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-_juo220t" ELLIS RAY HICKS, JR.
SHERIFF SAM DOWIES, ET AL
ae 3S
IN THE U.S. FEDERAL COURT
WESTERN DISTRICT OF

SHREVEPORT , LOUISIANA

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A 1983 CIVIL RIGHT COMPLAINT
( Possibly evolving into a Class Action)

TO THE HONORABLE FEDERAL

COURT:

Now comes, ELLIS RAY HICKS, JR., the “pro se”
Petitioner in the above entitled cause, humbly and
respectfully prays for the relief as contained herein and
shall show the following civil rights violations:
Case 5:21-cv-01896-EEF-MLH Document 8 Filed 08/23/21 Page 2 of 8 PagelD#: 34

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A CIVIL RIGHTS LAWSUIT IN
COMPLIANCE TO 42 U.S.C. ~1983

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CASE #

 

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ELLIS RAY HICKS, JR., ET AL
VS.

SHERIFF SAM DOWIES, ET AL

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(EVOLVING INTO A CLASS ACTION)
Case 5:21-cv-01896-EEF-MLH Document 8 Filed 08/23/21 Page 3 of 8 PagelD#: 35

I.

NEED FOR EMERGENCY PRELIMINARY
INJUNCTION & RESTRAINING ORDER

The Petitioner has submitted the necessary and needed
criteria for an Emergency Injunction (see Petition
enclosed and attached ), and shall reiterate the specifics
and dynamics which go to the root and core of the Civil
Rights Violation(s).

The newly elected Sheriff , Mr. Sam Dowies , has
retaliated against the Petitioner , Mr. Bradley Swint , and
others for exercising their right to seek redress from the
Courts , among other Civil Rights violations such as but
not limited to harassment of the people by Sheriff Sam
Dowies and his Deputy Sheriffs.

The specific need of the Petitioner for the Preliminary
Injunction and Restraining order is in compliance to:

Rule 65. Injunctions and Restraining
Orders

(a) Preliminary Injunction.

(1) Notice. The court may issue a preliminary injunction only on notice
to the adverse party.
Case 5:21-cv-01896-EEF-MLH Document 8 Filed 08/23/21 Page 4 of 8 PagelD#: 36

(2) Consolidating the Hearing with the Trial on the Merits. Before or after
beginning the hearing on a motion for a preliminary injunction, the court
may advance the trial on the merits and consolidate it with the hearing.
Even when consolidation is not ordered, evidence that is received on the
motion and that would be admissible at trial becomes part of the trial
record and need not be repeated at trial. But the court must preserve any
party's right to a jury trial.

(b) Temporary Restraining Order.

(1) Issuing Without Notice. The court may issue a temporary restraining
order without written or oral notice to the adverse party or its attorney
only if:

(A) specific facts in an affidavit or a verified complaint clearly show
that immediate and irreparable injury, loss, or damage will result to the
movant before the adverse party can be heard in opposition; and

(B) the movant's attorney certifies in writing any efforts made to give
notice and the reasons why it should not be required.

(2) Contents; Expiration. Every temporary restraining order issued
without notice must state the date and hour it was issued; describe the
injury and state why it is irreparable; state why the order was issued
without notice; and be promptly filed in the clerk's office and entered in
the record. The order expires at the time after entry—not to exceed 14
days—that the court sets, unless before that time the court, for good
cause, extends it for a like period or the adverse party consents to a
longer extension. The reasons for an extension must be entered in the
record.

(3) Expediting the Preliminary-Injunction Hearing. If the order is issued
without notice, the motion for a preliminary injunction must be set for
hearing at the earliest possible time, taking precedence over all other
matters except hearings on older matters of the same character. At the
hearing, the party who obtained the order must proceed with the motion;
if the party does not, the court must dissolve the order.

(4) Mation to Dissolve. On 2 days’ notice to the party who obtained the
order without notice—or on shorter notice set by the court—the adverse
party may appear and move to dissolve or modify the order. The court
must then hear and decide the motion as promptly as justice requires.
Case 5:21-cv-01896-EEF-MLH Document 8 Filed 08/23/21 Page 5 of 8 PagelD#: 37

(c) Security. The court may issue a preliminary injunction or a temporary
restraining order only if the movant gives security in an amount that the
court considers proper to pay the costs and damages sustained by any party
found to have been wrongfully enjoined or restrained. The United States, its
officers, and its agencies are not required to give security.

(d) Contents and Scope of Every Injunction and Restraining Order.

(1) Contents. Every order granting an injunction and every restraining
order must:

(A) state the reasons why it issued;
(B) state its terms specifically; and

(C) describe in reasonable detail—and not by referring to the
complaint or other document—the act or acts restrained or required,

(2) Persons Bound. The order binds only the following who receive actual
notice of it by personal service or otherwise:

(A) the parties;

(B) the parties’ officers, agents, servants, employees, and attorneys;
and

(C) other persons who are in active concert or participation with
anyone described in Rule 65(d)(2)(A) or (B).

(e) Other Laws Not Modified. These rules do not modify the following:

(1) any federal statute relating to temporary restraining orders or
preliminary injunctions in actions affecting employer and employee;
(2) 28 U.S.C. §2361, which relates to preliminary injunctions in actions of
interpleader or in the nature of interpleader; or

(3) 28 U.S.C. §2284, which relates to actions that must be heard and
decided by a three-judge district court.

The issue and subject of this Federal Rule, the portion that

Petitioner is in good faith asserting is in regard to :
(A) specific facts in an affidavit or a verified complaint clearly show that
immediate and irreparable injury, loss, or damage will result to the
movant before the adverse party can be heard in opposition.
Case 5:21-cv-01896-EEF-MLH Document 8 Filed 08/23/21 Page 6 of 8 PagelD#: 38

This is in the form of an Affidavit and the original
Petition for Preliminary Injunction (see enclosed and
attached hereinafter). These satisfy the Federal rule, the
need for Emergency Protective Order has been met, and
criteria exceeded.

Il.
SPECIFIC NEED FOR SUBPOENA DUCES

TECUM

Attached and enclosed is the Petition for Subpoena Duces
Tecum that is vitally needed and necessary to show and
prove the specific threat that was made against the
Petitioner on said date. This issue is easily shown by
recorded conversations between the Petitioner and Mr.
Bradley Swint (a pre-trial inmate at C.P.D.C.) who has
critical health conditions , and is the Petitioner's adopted
son.

The format that these conversations are housed are on
either a disk or hard drive and can be easily erased by the
Administrators and or altered (if not done so already).
Thus, the need for expedited access to these recorded
records and/or copy thereof.

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Case 5:21-cv-01896-EEF-MLH Document 8 Filed 08/23/21 Page 7 of 8 PagelD#: 39

NON- COMPLIANCE WITH THE FREEDOM

OF INFORMATION ACT

The Petitioner has submitted a good-faith freedom of
information act to the sheriff's office that has not been
complied with in the time frame as allowed per U.S. Code,
(see enclosed and attached f.o0.i.a. request) ; this action will
be in a separate Civil Rights Violation Lawsuit . Yet shows
the flagrant, “hush hush”, and cover-ups/white wash that
the Sheriff's office employs upon its Citizenry, as if they are
“ABOVE THE LAW”.

IV.

JURISDICTION & VENUE

The Plaintiff , the Plaintiff , and the Civil Rights
Violation(s), all reside and occurred in the Parish of

Claiborne. Thus, this is the proper and correct jurisdiction
and venue for this action in the U.S. Federal Court in the
Western District of Shreveport , La.

V.

IN FORMA PAUPERIS
The Plaintiff brings forth this Action and Prays for relief
under 42 U.S.C.~1915 . See attached and enclosed

Pauper's affidavit , and needed and necessary Federal
Case 5:21-cv-01896-EEF-MLH Document 8 Filed 08/23/21 Page 8 of 8 PagelD#: 40

Court form. Therefore, Praying for relief in the action
to proceed ,“IN FORMA PAUPERIS "

PRAYER

Wherefore, the humble and sincere Petitioner will not waste
this Esteemed and Honorable Courts time with endless
citations , as he is a neophyte of the laws, processes, and
procedures, and begs the Honorable Court to forgive any
“PRO SE” unintentional errors. That this action proceeds
with the requested relief.

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